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1    MCGREGOR W. SCOTT
     United States Attorney
2    MATTHEW D. SEGAL
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2708
5

6

7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CRIM. NO. 06-54 FCD
                                   )
11                   Plaintiff,    )          STIPULATION AND ORDER TO
                                   )          CONTINUE STATUS CONFERENCE
12        v.                       )          AND EXCLUDE TIME
                                   )
13   DENNIS NORTON &               )
     MARGIE NOVAK,                 )          “AS MODIFIED”
14                                 )
                     Defendants.   )
15   ______________________________)
16

17        The parties agree that the status conference set for April
18   3, 2006 at 9:30 a.m. be vacated and reset to Monday, April 17,
19   2006 at 9:30 a.m.
20        The parties further stipulate that time beginning April 3,
21   2006 and extending through April 17, 2006 should be excluded from
22   the calculation of time under the Speedy Trial Act.         The parties
23   submit that the ends of justice are served by the Court excluding
24   such time, so that they may have reasonable time necessary for
25   effective preparation, taking into account the exercise of due
26   diligence.   18 U.S.C. § 3161(h)(8)(B)(iv).
27        In particular, the time is required so that the government
28   and defense may revise and review a proposed plea agreement.          The

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1    parties stipulate that this interest of justice outweighs the
2    interest of the public and the defendant in a speedy trial.
3    18 U.S.C. § 3161(h)(8)(A).
4

5                                            Respectfully Submitted,
6                                            McGREGOR W. SCOTT
                                             United States Attorney
7

8
     DATE: March 31, 2006             By:     /s/ Matt Segal
9                                            MATTHEW D. SEGAL
                                             Assistant U.S. Attorney
10

11
     DATE: March 31, 2006                     /s/ Rachelle Barbour
12                                           RACHELLE BARBOUR
                                             Attorney for Dennis Norton
13

14   DATE: March 31, 2006                     /s/ Joseph Weisman
                                             JOSEPH WEISMAN
15                                           Attorney for Margie Novak
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17        IT IS SO ORDERED.
18
     DATED: March 31, 2006
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20
                                      /s/ Frank C. Damrell Jr.
21                                    HON. FRANK C. DAMRELL
                                      U.S. District Judge
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